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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                          §
                                                §           CHAPTER 7 CASE
                                                §
BRAZOS SANDY CREEK ELECTRIC                     §
COOPERATIVE, INC.,                              §            CASE NO. 22-30682-DRJ
                                                §
                      Debtor.                   §

     GENERAL NOTES AND STATEMENT OF LIMITATIONS AND DISCLAIMER
      REGARDING DEBTOR’S SCHEDULES OF ASSETS AND LIABILITES AND
                  STATEMENTS OF FINANCIAL AFFAIRS

         Brazos Sandy Creek Electric Cooperative (“BSCEC” or “Debtor”) is a participant in the

Sandy Creek Energy Station located in Riesel, Texas. BSCEC owns its assets as a tenant-in-

common with two other unrelated participants. BSCEC does not have any employees and the

plant’s financial activities are handled on behalf of BSCEC and the other participants by Sandy

Creek Services, LLC (“SCS”). SCS is an unrelated, third-party entity. The majority of the

information compiled to complete the Debtor’s Schedules and SOFAs was provided by SCS

which compiles and stores the information related to operations of the Sandy Creek Energy

Station and reports to the Debtor. The signer of the Schedules and SOFAs, who is not an

employee of the Debtor, has reviewed the information provided by SCS and verified that it is

correct to the best of her knowledge.

         The Schedules of Assets and Liabilities and Statements of Financial Affairs filed by the

Debtor were prepared pursuant to Section 521 of the Bankruptcy Code and Rule 1007 of the

Federal Rules of Bankruptcy Procedure by the Debtor’s authorized representative, with the

assistance of SCS, with unaudited information available as of the March 18, 2022 filing date.

The Schedules and SOFAs do not purport to represent financial statements prepared in




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accordance with generally accepted principals in the United States (“GAAP”) and they are not

intended to be fully reconciled to the Debtor’s financial statements.

        The Schedules and SOFAs have been signed by an authorized representative of the

Debtor. In reviewing and signing the Schedules and SOFAs, this representative relied upon the

efforts, statements and representations of the personnel and professionals of SCS and the

Debtor’s parent company Brazos Electric Cooperative, Inc. These authorized representatives

have not (and could not have) personally verified the accuracy of each such statement, including

for example, statements and representations concerning amounts owed to creditors and their

addresses. These General Notes are incorporated by reference in, and comprise an integral part

of, each of the Debtor’s Schedules and SOFAs, and should be referred to and reviewed in

connection with any review of the Schedules and SOFAs.

                                       GENERAL NOTES

1.      Reservation of Rights. The Debtor’s Chapter 7 case is complex. Although authorized

agents of the Debtor have made reasonable efforts to ensure that the Schedules and SOFAs are

accurate, based on the information that was available to them at the time of preparation,

subsequent information or discovery may result in material changes to these Schedules and

SOFAs, and inadvertent errors and omissions may have occurred. Because the Schedules and

SOFAs contain unaudited information, which is subject to further review, verification and

potential adjustment, these Schedules and SOFAs may be inaccurate and/or incomplete.

2.      No Waiver.         Nothing contained in the Schedules and SOFAs or these general Notes

shall constitute and admission or a waiver of any of the Debtor’s rights to assert any claims or

defenses. For the avoidance of doubt, listing a claim on Schedule D as “secured”, on Schedule

E/F as “priority”, or listing a contract or lease on Schedule G as “executory” or “unexpired” does




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not constitute admission by the Debtor that such amount is not disputed, contingent or

unliquidated.

3.      Reporting Date. All asset and liability information, except where otherwise noted, is

provided as of the Petition Date.

4.      Estimates and Assumptions.          The Debtor was required to make estimates and

assumptions in the preparation of the Schedules and SOFAs that affected the reported amounts of

assets and liabilities. Actual results could differ materially from these estimates.

5.      Asset Presentation and Valuation. The Debtor does not have current market valuations

for all of its assets.

6.      Liabilities.     Certain of the liabilities schedules are unknown, contingent and/or

unliquidated at this time. Accordingly, the Schedules and SOFAs do not necessarily reflect the

total aggregate amount of the Debtor’s liabilities.

7.      Intercompany Transactions. Prior to the Petition Date, the Debtor maintained a business

relationship with its parent company, Brazos Electric Power Cooperative, Inc. (“Brazos”),

conducting intercompany transactions (collectively, the “Intercompany Transactions”) from time

to time that result in intercompany receivables and payables (“Intercompany Claims”).

Substantially all of the Debtor’s Intercompany Transactions are governed by the terms of that

certain Power Purchase Agreement between Brazos as seller and the Debtor as purchaser (the

“Sandy Creek PPA”). The only intercompany accounts receivable as of the Petition Date are

amounts owed under the Sandy Creek PPA.

8.      Recharacterization. The Debtor has made reasonable efforts to characterize, classify,

categorize or designate the claims, assets, executory contracts and other items reported in the

Schedules and SOFAs correctly. Due to the complexity and size of the Debtor’s business,




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however, the Debtor may have improperly characterized, classified, categorized or designated

certain items. Further, the designation of an item within a category is not meant to be wholly

inclusive or descriptive of the rights or obligations represented by such item.

9.      Claim Description. Any failure to designate a claim on the Debtor’s Schedules and

SOFAs as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the

Debtor that such claim is not “contingent,” “unliquidated,” or “disputed.” The Debtor reserves all

of its rights to dispute, or to assert setoffs, recoupments, or other defenses to, any claim reflected

on the Schedules and SOFAs as to amount, liability, priority, secured or unsecured status,

classification or any other grounds or to otherwise subsequently designate any claim as

“contingent,” “unliquidated,” or “disputed.” The Debtor reserves all of its rights to amend its

Schedules and SOFAs as necessary and appropriate, including, but not limited to, with respect to

claim description and designation.

10.     Undetermined or Unknown Amounts. The description of an amount as “Undetermined”

or “Unknown” is not intended to reflect upon the materiality of such amount. Certain amounts

may be clarified over the period of the bankruptcy proceeding and certain amounts may depend

on contractual obligations to be assumed or rejected during the bankruptcy proceeding.

11.     Contingent Causes of Action. The Debtor reserves all of its rights with respect to any

claims and causes of action (including any avoidance actions) it has or may have, and neither

these General Global Notes nor the Schedules and SOFAs shall be deemed a waiver of any such

claims or causes of action (including any avoidance actions) or in any way prejudice or impair

the assertion of such claims or causes of action (including any avoidance actions).

12.     Unknown Addresses. The Debtor has made and continues to make reasonable efforts to

collect all addresses for all parties in interest. In the event not all addresses for parties on these




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Schedules and SOFAs have been obtained, the Debtor will continue to pursue complete notice

information and will provide updated information as reasonably practicable.

13.     Executory Contracts. The Debtor has made and continues to make efforts to gather and

disclose all executory contracts. In the event not all executory contracts have been identified and

included in Schedule G, the Debtor will amend Schedule G with additional executory contracts

as reasonably practicable.




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 Fill in this information to identify the case
 Debtor name          Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          22-30682 (DRJ)
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                      Current value of
                                                                                                                           debtor's interest

2.     Cash on hand                                                                                                                           $0.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of
                                                                                                   account number
3.1.                                                               General Business
        Bank of America                                            Checking                            0   0   0     6                   $27,692.65
3.2.    JP Morgan Chase Bank                                       Commercial Checking                 4   4   0     3             $1,513,392.57
3.3.    Computershare Trust Company                                Construction Account                8   2   0     0                        $0.00
3.4.    Computershare Trust Company                                Capital Interest Sub Acct           8   2   0     1                        $0.00
3.5.    Computershare Trust Company                                Construction Sub Acct               8   2   0     2                        $0.00
3.6.    Computershare Trust Company                                Revenue Account                     8   2   0     3           $23,991,360.08
3.7.                                                               Primary Debt Service
        Computershare Trust Company                                Acct                                8   2   0     4                        $0.00
3.8.    Computershare Trust Company                                Primary Interest Sub Acct           8   2   0     5             $5,303,537.02
3.9.                                                               Primary Pincipal Sub
        Computershare Trust Company                                Acct                                8   2   0     6             $2,942,772.77
3.10. Computershare Trust Company                                  Primary Fees Sub Acct               8   2   0     7                        $0.00



Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                               Case number (if known)     22-30682 (DRJ)
             Name

3.11.                                                               Secondary Debt Service
        Computershare Trust Company                                 Acct                                8   2   0   8                 $0.00
3.12.                                                               Secondary Interst Sub
        Computershare Trust Account                                 Acct                                8   2   0   9                 $0.00
3.13.                                                               Secondary Principal Sub
        Computershare Trust Company                                 Acct                                8   2   1   0                 $0.00
3.14. Computershare Trust Company                                   Secondary Fees Sub Acct             8   2   1   1                 $0.00
3.15.                                                               Other Per Indebtedness
        Computershare Trust Company                                 Acct                                8   2   1   2                 $0.00
3.16.                                                               Other Per Indebtedness
        Computershare Trust Cmopany                                 Proceeds                            8   2   1   3                 $0.00
3.17.                                                               Other Per Indebtedness
        Cmputershare Trust Company                                  Pymt Acct                           8   2   1   4                 $0.00
3.18.                                                               Intercompany Loan Debt
        Computershare Trust Company                                 Service                             8   2   1   5                 $0.00
3.19.                                                               Intercompany Loan
        Computershare Trust Company                                 Interst Sub                         8   2   1   6                 $0.00
3.20.                                                               Intercompany Loan
        Computershare Trust Company                                 Principal Sub                       8   2   2   1                 $0.00
3.21.                                                               Intercompany Loan Fees
        Computershare Trust Company                                 Sub Acct                            8   2   2   2                 $0.00
3.22. Computershare Trust Company                                   Project Cost Account                8   2   2   3                 $0.00
3.23.                                                               Project Cost Reserve
        Computershare Trust Company                                 Acct                                8   2   2   4                 $0.00
3.24.                                                               Casualty & Condemn
        Computershare Trust Company                                 Proceeds                            8   2   2   7         $2,850,134.32
3.25. US Bank                                                       Debit Card                          3   3   7   1                 $0.00
3.26. US Bank                                                       Management Fee                      3   3   8   9                 $0.00
3.27. US Bank                                                       Primary Disbursement                2   0   9   2           $192,220.56
3.28.                                                               Transportation
        US Bank                                                     Disbursement                        2   1   0   0           $194,440.73
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                             $37,015,550.70


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                 page 2
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Debtor         Brazos Sandy Creek Electric Cooperative, Inc.                                 Case number (if known)    22-30682 (DRJ)
               Name

                                                                                                                            Current value of
                                                                                                                            debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    See attached schedule                                                                                                            $704.73
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

8.1.    See attached Schedule                                                                                                       $849,865.55
9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                    $850,570.28


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $6,753.01             –                 $0.00                  = ..............                 $6,753.01
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                   $0.00               –                 $0.00                  = ..............                     $0.00
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                        $6,753.01


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method              Current value of
                                                                                              used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                            $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                             page 3
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                           Case number (if known)     22-30682 (DRJ)
             Name

    General description                          Date of the     Net book value of     Valuation method              Current value of
                                                 last physical   debtor's interest     used for current value        debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

    Coal pile - 98,250.04 tons                                                                                             $3,978,394.99
23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                           $3,978,394.99

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

    General description                                          Net book value of     Valuation method              Current value of
                                                                 debtor's interest     used for current value        debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                     $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 4
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                              Case number (if known)    22-30682 (DRJ)
             Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                       $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. See attached Schedule                                                                                                    $574,791.25
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     See attached Exhibit 50A (Physical Plant
     Allocation)                                                                                                          $427,646,332.13
     See attached Exhibit 50B (PPE Reconciliation)                                                                             $770,261.81
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                          $428,991,385.19



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 5
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Debtor        Brazos Sandy Creek Electric Cooperative, Inc.                              Case number (if known)    22-30682 (DRJ)
              Name

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. Power Plant
       2161 Rattlesnake Rd.
       Riesel, TX 76682-3337

                                                      25% TIC                                                             Value included in Exhibit 50A

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                              $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                           Case number (if known)   22-30682 (DRJ)
             Name

    TCEQ Air Quality Permit 70861 and PSDTX1039
    issued to Sandy Creek Services, LLC as agent
    for BSCEC

    Revised: 07/07/2017
    Expiration Date: 05/26/2026                                                                                                    $0.00
    TCEQ Water Quality Permis No. WQ0004755000
    issued to Sandy Creek Energy Associates LP
    and Sandy Creek Services LLC as agent for
    BSCEC

    Issued: 02/06/2019
    Expiration date: 5 years from issuance                                                                                         $0.00
    TCEQ General Permit to Discharge Under the TX
    Pollutant Discharge Elmination System
    PDES General Permit No. TXR050000

    Issued 08-14-2016                                                                                                              $0.00
    TCEQ Air Quality Standard Permit for Boilers

    Effective: 11/03/2006                                                                                                          $0.00
    Federal Operating Permit No. 03336
    Issued to Sandy Creek Services, LLC as agent
    for BSCED authorizing the operation of Sandy
    Creek Energy Station Other Eelectric Power
    Generation

    Issued 11/30/2017                                                                                                              $0.00
    TCEQ Industrial and Hazardous Waste
    Solid Water Reg. No. 88448
    Issued to Sandy Creek Energy Assoc. LP as
    agent for BSCEC

    Intial Registration Date: 12/12/2007                                                                                           $0.00
    TCEQ Authorization for Reclaimed Water
    No. R 11071-001
    User: Sandy Creek Energy Assoc. as agent for
    BSCEC
    Re: Cities of Waco, Bellmead, Lacy-Lakeview,
    Robinson and Woodway

    Issued: 12/11/2006                                                                                                             $0.00
65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                   $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes



Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                        page 7
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                               Case number (if known)   22-30682 (DRJ)
             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     See attached exhibit "Summary of Insurance"                                                                                       $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

     Claim for rejection damages of PPA against Brazos Electric Cooperative, Inc.

         Amount: UNLIQUIDATED                                                                                                          $0.00
     Nature of claim             Executory contract rejection damages
     Amount requested


76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                       $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                         page 8
                        Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 14 of 94
Debtor          Brazos Sandy Creek Electric Cooperative, Inc.                                                   Case number (if known)       22-30682 (DRJ)
                Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                  $37,015,550.70
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                    $850,570.28

82. Accounts receivable. Copy line 12, Part 3.                                           $6,753.01

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                $3,978,394.99

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                 $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                           $428,991,385.19
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +                $0.00

91. Total. Add lines 80 through 90 for each column.                    91a.       $470,842,654.17           +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $470,842,654.17




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                        page 9
                      Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 15 of 94

 Fill in this information to identify the case:
 Debtor name          Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          22-30682 (DRJ)                                                                              Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          BSEC Series 2009A Noteholders                    subject to a lien                               $379,740,331.49         $469,417,292.64

          Creditor's mailing address                       All assets / Blanket Lien
          c/o Greenberg Traurig/O. Pinkas                  Describe the lien
          200 Park Ave. MetLife Bldg                       Blanket Lien/UCC
                                                           Is the creditor an insider or related party?
          New York                   NY   10166             No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred                            No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.

6.54% Series 2009A Senior Secured Notes due June 30, 2024 issued by Brazos Sandy Creek Electric Cooperative, Inc.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                            $379,740,331.49


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                      Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 16 of 94
Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                                     Case number (if known) 22-30682 (DRJ)

 Part 1:         Additional Page                                                                               Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.2     Creditor's name                                       Describe debtor's property that is
         BSEC Series 2009A Noteholders                         subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                            all assets / Blanket Lien
         c/o Greenberg Traurig/S. Heyen                        Describe the lien
         1000 Louisiana, Ste 1700                              Blanket Lien/UCC
                                                               Is the creditor an insider or related party?
         Houston                    TX      77002               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines

6.54% Series 2009A Senior Secured Notes due June 30, 2024 issued by Brazos Sandy Creek Electric Cooperative, Inc.

 2.3     Creditor's name                                       Describe debtor's property that is
         City of Riesel                                        subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                            .
         P.O. Box 249                                          Describe the lien
         104 N. Hwy 6                                          2022 ad valorem taxes
                                                               Is the creditor an insider or related party?
         Riesel                     TX      76682               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 17 of 94
Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                                    Case number (if known) 22-30682 (DRJ)

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         McLennan Co. Tax Assessor                            subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                           .
         PO Box 406                                           Describe the lien
                                                              2022 ad valorem taxes
                                                              Is the creditor an insider or related party?
         Waco                       TX     78703               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.5     Creditor's name                                      Describe debtor's property that is
         McLennan Community College                           subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                           .
         1400 College Drive                                   Describe the lien
                                                              2022 ad valorem taxes
                                                              Is the creditor an insider or related party?
         Waco                       TX     76708               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 18 of 94
Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                             Case number (if known) 22-30682 (DRJ)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Joseph D. Davis III                                                           Line    2.1
         Greenberg Traurig, LLP
         One International Place, Suite 2000
         Boston, MA



         Oscar Pinkas/Nathan Haynes                                                    Line    2.1
         Greenberg Traurig, LLP
         One Vanderbuilt Ave.


         New York                                     NY       10017


         Sheri L Heyen                                                                 Line    2.1
         Greenberg Traurig, LLP
         1000 Louisiana, Suite 1700


         Houston                                      TX       77002




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 19 of 94

 Fill in this information to identify the case:
 Debtor              Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         22-30682 (DRJ)                                                                           Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                    Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 20 of 94
Debtor        Brazos Sandy Creek Electric Cooperative, Inc.                            Case number (if known)      22-30682 (DRJ)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                     Unknown
                                                                   Check all that apply.
A2/Falls Bull Creek, LLC, et al                                     Contingent
c/o HMG LLP                                                         Unliquidated
719 S Shoreline Blvd                                                Disputed
                                                                   Basis for the claim:
Corpus Christi                           TX       78401            Pending Litigation

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $450.00
                                                                   Check all that apply.
Ademero, Inc.                                                       Contingent
4798 S. Florida - Ste. 331                                          Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Lakeland                                 FL       33813            Goods/services

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number          0    8    3   8
                                                                    No
                                                                    Yes

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $15,290.00
                                                                   Check all that apply.
ALF P-III, Inc.                                                     Contingent
c/o Residco                                                         Unliquidated
70 W Madison                                                        Disputed
                                                                   Basis for the claim:
Chicago                                  IL       60602            Goods/services

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number          0    0    3   4
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                     $8,960.31
                                                                   Check all that apply.
All-State Belting, LLC.                                             Contingent
dba All-State Belting Co.                                           Unliquidated
520 South 18th Street                                               Disputed
                                                                   Basis for the claim:
West Des Moines                          IA       50265            Goods/services

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number          1    3    5   8
                                                                    No
                                                                    Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $5,176.25
                                                                Check all that apply.
Alliance Electrical Group LLC                                    Contingent
2629 Franklin Ave                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waco                                   TX       76710           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    3   8
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Amanda Segundo, Andrew Segundo, et al                            Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Ambrea Jones & Timothy Jones, Jr. et al                          Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl,                                         Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $11,687.75
                                                                Check all that apply.
American Pulverizer Company                                      Contingent
1319 Macklind Ave                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Saint Louis                            MO       63110           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    4   5
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Angela Martinez, Indv, et al                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $7,550.00
                                                                Check all that apply.
Aquatech International LLC                                       Contingent
One-Four Coins Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Homestead                              PA       15120           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     3    1   4
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Argelis E. Sapio, Alex Ledezma, et al                            Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Arti Patel & Neha Patel both Indv, et al                         Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $4,704.00
                                                                Check all that apply.
Arvos Ljungstrom LLC                                             Contingent
3020 Truax Road                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wellsville                             NY       14895           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     1    6   0
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Ashley Clinton as Rep Est Aundre Clinton                         Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $605.50
                                                                Check all that apply.
Asset Partners, Inc.                                             Contingent
1220 W. Morse Ave suite 210                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60626           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     3    1   6
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
August Jaehne, Indiv & et al                                     Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $28,200.00
                                                                Check all that apply.
Babcock Power Services Inc.                                      Contingent
26 Forest Street, Suite 300                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Marlborough                            MA       01752           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    6   3
                                                                 No
                                                                 Yes

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Barbara Butler                                                   Contingent
c/o Manginello Law Firm                                          Unliquidated
1776 Yorktown Suite 450                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77056           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Bay Oaks IV, LP, et al.                                          Contingent
c/o Hillard Martinez Gonzalez LLP                                Unliquidated
719 S Shoreline Blvd                                             Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78401           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1,726.73
                                                                Check all that apply.
BD Holt CO DBA Holt Texas LTD                                    Contingent
PO Box 911975                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75391           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    3   9
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Belinda Hubbard, Indv & et al.                                   Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Boyet Abito, et al.                                              Contingent
c/o Napoli Shkolnik                                              Unliquidated
3001 Esperanza Crossing, Suite 1063                              Disputed
                                                                Basis for the claim:
Austin                                 TX       78758           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Brandon Boucher and Erin Boucher                                 Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Brazos Electric Power Cooperative, Inc.                          Contingent
7616 Bagby Avenue                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waco                                   TX       76706           .

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Brenda Flowers, Indv, et al.                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Brenda Johnson                                                   Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Brian Labbe                                                      Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,570.37
                                                                Check all that apply.
Bryan Hose & Gasket, Inc.                                        Contingent
P.O. Box 2320                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bryan                                  TX       77806           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    6   2
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,643.75
                                                                Check all that apply.
BWM Services LP                                                  Contingent
PO Box 176                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Caldwell                               TX       77836           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     6    2   7
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,141.25
                                                                Check all that apply.
C.A.S.S. Transport LLC                                           Contingent
116 Live Oak Ln                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Riesel                                 TX       76682           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    2   6
                                                                 No
                                                                 Yes

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $9,196.25
                                                                Check all that apply.
C.P. Environmental, LLC                                          Contingent
1336 Enterprise Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Romeoville                             IL       60446           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    8   7
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Charles Lindsey, Indiv, et al.                                   Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Christopher Burton                                               Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Christopher Trujillo, Indv & et al                               Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Cindy Dietiker, Indv, et al.                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $123,024.50
                                                                Check all that apply.
City of Waco-Water Utility Services                              Contingent
P.O. Box 2570                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waco                                   TX       76702           Utility Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     7    8   5
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $10,482.50
                                                                Check all that apply.
Clyde Industries, Inc.                                           Contingent
4015 Presidential Parkway                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Atlanta                                GA       30340           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    1   0
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $101.64
                                                                Check all that apply.
Cohn & Gregory Supply, LLC                                       Contingent
PO Box 671435                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75267           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    3   9
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Colinda Meza, Indiv & et al.                                     Contingent
c/o Guerrero & Whittle, PLLC                                     Unliquidated
2630 Exposition Blvd #102                                        Disputed
                                                                Basis for the claim:
Austin                                 TX       78703           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Computershare Trust Company NA                                   Contingent
WF 8113                                                          Unliquidated
PO Box 1450                                                      Disputed
                                                                Basis for the claim:
Minneapolis                            MN       55485-8113      .

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $3,539.18
                                                                Check all that apply.
D. Reynolds Company dba The Reynolds Co                          Contingent
2680 Sylvania Cross Dr.                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Ft. Worth                              TX       76137           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    2   2
                                                                 No
                                                                 Yes

  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Dale Patterson, Indv, et al.                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Daniel and Beryl Robinson, Indv & et al                          Contingent
The Buzbee Law Firm                                              Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Danny Martin, Indv, et al.                                       Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Darla R. Hogan, Indv et al.                                      Contingent
c/o Hillard Martinez Gonzalez LLP                                Unliquidated
719 S Shoreline Blvd                                             Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78401           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Demeatrel Boles, et al.                                          Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Derrick Jones, Indv, et al.                                      Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Diane Jamerson, Indiv & et al                                    Contingent
Rad Law Firm                                                     Unliquidated
8001 Lyndon B Johnson Fwy - Ste 300                              Disputed
                                                                Basis for the claim:
Dallas                                 TX       75251           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Dimitri Beck                                                     Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Dolores Jackson, Indiv & Est. E. Jackson                         Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Dominique Fisher, Indv, et al.                                   Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Donna Boatright, Indiv & et al.                                  Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Dustye Billiott, Indiv & et al                                   Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $7,305.00
                                                                Check all that apply.
Eco-Tech                                                         Contingent
156 Hickory Springs                                              Unliquidated
Industrial Drive                                                 Disputed
                                                                Basis for the claim:
Canton                                 GA       30115           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    6   9
                                                                 No
                                                                 Yes

  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Edward Restoration, LLC                                          Contingent
c/o Greene Law Firm, P.C                                         Unliquidated
1616 S. Chestnut St.                                             Disputed
                                                                Basis for the claim:
Lufkin                                 TX       75901           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $117.71
                                                                Check all that apply.
Eggelhof Inc.                                                    Contingent
3617 Brazos Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Odessa                                 TX       79764           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     8    2   9
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Ellaine Cook                                                     Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $214,213.00
                                                                Check all that apply.
Emerson Process Management                                       Contingent
15740 Park Row                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77084           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     3    0   4
                                                                 No
                                                                 Yes

  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,312.50
                                                                Check all that apply.
Emory Industrial Services, Inc.                                  Contingent
1501 NE Broadway Ave., Suite 1                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Des Moines                             IA       50313           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    4   2
                                                                 No
                                                                 Yes

  3.60     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $4,886.75
                                                                Check all that apply.
Energy Transfer Partners, LP                                     Contingent
dba Energy Transfer Fuel, LP                                     Unliquidated
P.O. Box 951439                                                  Disputed
                                                                Basis for the claim:
Dallas                                 TX       75395           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     0    3   5
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $71,690.75
                                                                Check all that apply.
Engineered Pump Services Inc.                                    Contingent
624 Perkins Drive                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mukwonago                              WI       53149           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    1   7
                                                                 No
                                                                 Yes

  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Ernest Anim, et al                                               Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Ernest Peterman, Indv, et al                                     Contingent
Arnold & Itkin, LLP                                              Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $20,524.75
                                                                Check all that apply.
Explosive Professionals,Inc.                                     Contingent
P.O. Box 1885                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Humble                                 TX       77347           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    2   5
                                                                 No
                                                                 Yes




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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $909.10
                                                                Check all that apply.
Fastenal Company                                                 Contingent
1904 S. Texas Avenue                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Joliet                                 IL       60436           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     0    3   7
                                                                 No
                                                                 Yes

  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $32.04
                                                                Check all that apply.
Federal Express - EXPRESS MAIL                                   Contingent
P.O. Box 660481                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    2   2
                                                                 No
                                                                 Yes

  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $368.96
                                                                Check all that apply.
Federal Express - FREIGHT                                        Contingent
Dept. CH - P.O. Box 10306                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     9    5   4
                                                                 No
                                                                 Yes

  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Felicia Loyd & Deidre Moss, et al                                Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Fernando Ramirez, Indiv, et al                                   Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $7,935.00
                                                                Check all that apply.
Finch Environmental, Inc.                                        Contingent
P.O. Box 539                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Payson                                 UT       84651           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     1    8   8
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $6,124.50
                                                                Check all that apply.
Flanders Electric, Inc.                                          Contingent
dba Flanders CR Aquisition                                       Unliquidated
901 Harrison Road                                                Disputed
                                                                Basis for the claim:
Longview                               TX       75601           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    7   6
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Floyd Furlow, Cenetta Ann Furlow et al                           Contingent
c/o The Potts Law Firm, LLP                                      Unliquidated
2911 Turtle Creek Blvd #1000                                     Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $4,038.50
                                                                Check all that apply.
Focus Environmental, Inc.                                        Contingent
4700 Papermill Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Knoxville                              TN       37909           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    0   4
                                                                 No
                                                                 Yes

  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $4,131.97
                                                                Check all that apply.
Frontier Waste, LLC                                              Contingent
2323 Bryan St., Ste. 2620                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75201           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    3   7
                                                                 No
                                                                 Yes

  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $640.50
                                                                Check all that apply.
FS Holdings, Inc. dba Allied Sales Co.                           Contingent
P.O. Box 6116                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78762           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     3    9   9
                                                                 No
                                                                 Yes

  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $3,796.00
                                                                Check all that apply.
Genesis Systems Inc.                                             Contingent
2663 Marquis Drive                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Garland                                TX       75042           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    7   8
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Gibana Ramirez, Indv, et al                                      Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Gilberto Garcia, Jr., et al                                      Contingent
c/o Law Offices of Douglas A. Allison                            Unliquidated
1313 Oates Dr                                                    Disputed
                                                                Basis for the claim:
Mesquite                               TX       75150           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Glenda Coleman, Indv, et al                                      Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Glenda Willis, Indv & a/n/f of J. Willis                         Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St,                                               Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Glenn Gidseg and Ronnie Harrison et al                           Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Gloria A. Anderson et al                                         Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Guy Edward Stone                                                 Contingent
c/o Ketterman Rowland & Westlund                                 Unliquidated
16500 San Pedro, Ste. 302                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $68.40
                                                                Check all that apply.
Hayday, Inc. DBA CTWP                                            Contingent
3730 Franklin Ave                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waco                                   TX       76710           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     0    2   6
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $729.58
                                                                Check all that apply.
Henek Manufacturing Inc.                                         Contingent
9700 Almeda Genoa Rd.                                            Unliquidated
Bldg. 601                                                        Disputed
                                                                Basis for the claim:
Houston                                TX       77075           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     3    6   2
                                                                 No
                                                                 Yes

  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $2,616.75
                                                                Check all that apply.
Hensel Electric Company                                          Contingent
501 Towne Oaks Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waco                                   TX       76710           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    8   9
                                                                 No
                                                                 Yes

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Herlinda Trujillo                                                Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $52,147.50
                                                                Check all that apply.
Howden USA Company                                               Contingent
2475 George Urban Blvd.                                          Unliquidated
Suite 120                                                        Disputed
                                                                Basis for the claim:
Depew                                  NY       14043           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    2   9
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                     Amount of claim

  3.89      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,075.00
                                                                 Check all that apply.
IHI, Inc.                                                         Contingent
2500 Citywest Blvd Suite 300                                      Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Houston                                 TX       77042           Goods/services

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number        0     1    8   3
                                                                  No
                                                                  Yes

  3.90      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                 Check all that apply.
Ileana Alvarez                                                    Contingent
c/o The Buzbee Law Firm                                           Unliquidated
600 Travis St, Ste 7300                                           Disputed
                                                                 Basis for the claim:
Houston                                 TX       77002           Pending Litigation

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.91      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,978.75
                                                                 Check all that apply.
Industrial Refractory Services, Inc.                              Contingent
2300 S Main Street                                                Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Fort Worth                              TX       76110           Goods/services

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number        1     3    9   1
                                                                  No
                                                                  Yes

  3.92      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $78.75
                                                                 Check all that apply.
Infor (Canada), LTD. c/o T2753                                    Contingent
250 Ferrand Drive                                                 Unliquidated
Toronto, ON M3C 3G8                                               Disputed
                                                                 Basis for the claim:
                                                                 Goods/services

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number        0     0    9   0
                                                                  No
                                                                  Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.93     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $16,719.30
                                                                Check all that apply.
Integrated Power Services, LLC                                   Contingent
1245 N. Hearne Avenue                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Shreveport                             LA       71107           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    5   7
                                                                 No
                                                                 Yes

  3.94     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $7,061.50
                                                                Check all that apply.
ISCOLA, Inc.                                                     Contingent
11612 Sunbelt Court                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Baton Rouge                            LA       70809           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    3   5
                                                                 No
                                                                 Yes

  3.95     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Ivet Nazario, Indiv & et al                                      Contingent
c/o The Potts Law Firm, LLP                                      Unliquidated
2911 Turtle Creek Blvd #1000                                     Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.96     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
James Sustala, Indv, et al                                       Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.97     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Jane Doe et al                                                   Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.98     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Janice Renee Winston, Indiv & et al                              Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Austin                                 TX       78758           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.99     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Jesus Rodriguez, Indv, et al                                     Contingent
c/o Kherkher Garcia                                              Unliquidated
2925 Richmond Ave, Suite 1560                                    Disputed
                                                                Basis for the claim:
Houston                                TX       77098           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.100    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
John Greenhaw                                                    Contingent
c/o Daly & Black, P.C.                                           Unliquidated
2211 Norfolk St #800                                             Disputed
                                                                Basis for the claim:
Houston                                TX       77098           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
John Pafford, Indv, et al                                        Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Katheryn McCoy, Indv & et al                                     Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Kathy Kamego and Michael Kamego                                  Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St,                                               Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Kazi Mahboob, Indv, et al                                        Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.105    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Kenneth Busby, et al                                             Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.106    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Laredo Apartments I, LLC                                         Contingent
c/o Hillard Martinez Gonzalez LLP                                Unliquidated
719 S Shoreline Blvd                                             Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78401           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.107    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Latitude 6400, LLC, Terrain Med Ctr, LLC                         Contingent
c/o HMG LLP                                                      Unliquidated
720 S Shoreline Blvd                                             Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78401           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.108    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Latricia Hagan et al                                             Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Laura Woodring, et al                                            Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,531.25
                                                                Check all that apply.
Lectrodryer, LLC                                                 Contingent
135 Quality Drive                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Richmond                               KY       40475           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    5   8
                                                                 No
                                                                 Yes

  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $5,965.75
                                                                Check all that apply.
Lhoist North America of Texas                                    Contingent
5600 Clearfork Main St #300                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fort Worth                             TX       76109           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    4   6
                                                                 No
                                                                 Yes

  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Linda Brown, Indiv./Next Kin D. Austin                           Contingent
c/o Fears Nachawati                                              Unliquidated
5489 Blair Rd                                                    Disputed
                                                                Basis for the claim:
Dallas                                 TX       75231           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Linda Davenport                                                  Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Lucia Galvan et al                                               Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $131.25
                                                                Check all that apply.
Ludeca, Inc.                                                     Contingent
1425 NW 88th Ave.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Doral                                  FL       33172           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    7   4
                                                                 No
                                                                 Yes

  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Lure Apts Dallas, LLC, et al                                     Contingent
c/o HMG LLP                                                      Unliquidated
719 S Shoreline Blvd                                             Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78401           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Maria Pineda                                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Maria Torrez, Indiv & et al                                      Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $6,422.44
                                                                Check all that apply.
Marmon Industrial Water, LLC                                     Contingent
30 Technology Dr. Suite 2F                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Warren                                 NJ       07059           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     3    3   1
                                                                 No
                                                                 Yes

  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Mary Borton, Indiv & et al                                       Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.121    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Mary Thames, Robin Crist Faulkner et al                          Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.122    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Mauricio Marin and Daysi Marin                                   Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.123    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $58,195.00
                                                                Check all that apply.
Mechanical Dynamics & Analysis LLC                               Contingent
19 British American Blvd                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Albany                                 NY       12210           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    0   0
                                                                 No
                                                                 Yes

  3.124    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1,243.62
                                                                Check all that apply.
Meco of Texas, LLC.                                              Contingent
P.O. Box 968                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Norcross                               GA       30091           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     8    8   9
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.125    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Melissa L. Mauro, & Cindy Simmons et al                          Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.126    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $122,516.25
                                                                Check all that apply.
Meylan Enterprises, Inc.                                         Contingent
6225 S. 60th St.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Omaha                                  NE       68117           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    7   1
                                                                 No
                                                                 Yes

  3.127    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Michelle Williams                                                Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.128    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $9,223.50
                                                                Check all that apply.
Midwest Cooling Towers, Inc.                                     Contingent
1156 E. HWY 19                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chickasha                              OK       73018           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    3   5
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $9,693.25
                                                                Check all that apply.
Midwest Cooling Towers, Inc.                                     Contingent
1156 E. HWY 19                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chickasha                              OK       73018           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    3   5
                                                                 No
                                                                 Yes

  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $267,221.25
                                                                Check all that apply.
Mitsubishi Hitachi Power Systems                                 Contingent
546 Martinsville Rd                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Basking Ridge                          NJ       07920           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    2   0
                                                                 No
                                                                 Yes

  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Monique Juliangarza, et al.                                      Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $690,484.75
                                                                Check all that apply.
NAES Corporation                                                 Contingent
PO Box 94274                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Seattle                                WA       98124           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     0    7   8
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Nicale Spencer, et al.                                           Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Nichole Redus, et al.                                            Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    ($333.77)
                                                                Check all that apply.
Northwest Cascade Inc., dba Honey Bucket                         Contingent
10412 John Bananola Way E                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Puyallup                               WA       98374           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    4   0
                                                                 No
                                                                 Yes

  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $38.62
                                                                Check all that apply.
Office Depot, Inc.                                               Contingent
6600 North Military Trail                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boca Raton                             FL       33496           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     2    4   4
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.137    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $34.12
                                                                Check all that apply.
OST Services, LLC                                                Contingent
55 Chapman St                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Providence                             RI       02905           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    3   6
                                                                 No
                                                                 Yes

  3.138    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
P.L. Farley, Indiv.& Grover Silas et al                          Contingent
c/o Zehl & Associates                                            Unliquidated
2700 Post Oak Blvd #1000                                         Disputed
                                                                Basis for the claim:
Houston                                TX       77056           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.139    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Pamela Bunkley, Indv, et al.                                     Contingent
c/o Abraham Watkins                                              Unliquidated
800 Commerce St                                                  Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.140    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Patricia Dillingham, Indv & et al.                               Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Paula Freeney et al.                                             Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Pension Benefit Guaranty Corporation                             Contingent
Soo Min Kim/Andrea Wong                                          Unliquidated
1200 K St., NW, Suite 340                                        Disputed
Washington, DC 200005                                           Basis for the claim:
                                                                .

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Peter J. Kucera, et al.                                          Contingent
c/o The Busbee Law Firm                                          Unliquidated
600 Travis St., Ste 7300                                         Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $48,237.50
                                                                Check all that apply.
Pilgrim International Ltd.                                       Contingent
Earl Business Ctr Dowry St.                                      Unliquidated
Etherow Suite, Oldham                                            Disputed
Grtr Manchester 0L82PF UK                                       Basis for the claim:
                                                                Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     3    9   3
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.145    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Pitney Bowes                                                     Contingent
PO Box 371874                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15250           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     5    1   6
                                                                 No
                                                                 Yes

  3.146    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                       $15.10
                                                                Check all that apply.
Pitney Bowes Global Financial Services,                          Contingent
PO Box 371887                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15250           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     5    1   8
                                                                 No
                                                                 Yes

  3.147    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $2,535.00
                                                                Check all that apply.
Power & Industrial Services Corp                                 Contingent
95 Washington Street                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Donora                                 PA       15033           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     1    1   7
                                                                 No
                                                                 Yes

  3.148    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $16,561.50
                                                                Check all that apply.
Power Engineering Services, Inc.                                 Contingent
9179 Shadow Creek Lane                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Converse                               TX       78109           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    2   7
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.149    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Preston Harston as Rep Est of C. Pineda                          Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
                                                                Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.150    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $9,100.00
                                                                Check all that apply.
Railcar Holdings PAS IV LLC                                      Contingent
200 Park Avenue South                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
New York                               NY       10003           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    2   3
                                                                 No
                                                                 Yes

  3.151    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Randy Turner, et al.                                             Contingent
c/o Brent Coon & Associates                                      Unliquidated
300 Fannin, Ste 200                                              Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.152    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Reginald Darnell Lacy, Indv, et al.                              Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.153    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $9,660.00
                                                                Check all that apply.
Riverside Rail LLC                                               Contingent
c/o Riverside Rail I LLC                                         Unliquidated
845 Larch Avenue                                                 Disputed
                                                                Basis for the claim:
Elmhurst                               IL       60126           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     0    3   0
                                                                 No
                                                                 Yes

  3.154    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Robert Beasley                                                   Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.155    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Robert White, et al.                                             Contingent
c/o Brent Coon & Associates                                      Unliquidated
300 Fannin, Ste 200                                              Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.156    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Ron Williams, Indv. & et al.                                     Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.157    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $133.75
                                                                Check all that apply.
Ronan Engineering Company                                        Contingent
8050 Production Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Florence                               KY       41042           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    6   1
                                                                 No
                                                                 Yes

  3.158    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Ruben Benavides & Sylvia Benavides et al                         Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.159    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,725.00
                                                                Check all that apply.
Schenck Process, LLC                                             Contingent
810 South Highway                                                Unliquidated
75 PO Box 205                                                    Disputed
                                                                Basis for the claim:
Sabetha                                KS       66534           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    9   3
                                                                 No
                                                                 Yes

  3.160    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $5,746.25
                                                                Check all that apply.
SCS Engineers                                                    Contingent
1901 Central Drive, Suite 550                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bedford                                TX       76021           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    6   6
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.161    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Shalemu Bekele, Indv, et al.                                     Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.162    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Sharon Howeth Indiv & Pers Rep C. Howeth                         Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77056           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.163    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Shea Rodriguez, Indiv & et al.                                   Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.164    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Sheba Scott, Shonda M. Jones, et al                              Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.165    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Shelia Stewart, et al.                                           Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.166    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,433.25
                                                                Check all that apply.
Shermco Industries, Inc.                                         Contingent
2425 E Pioneer Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Irving                                 TX       75061           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    0   2
                                                                 No
                                                                 Yes

  3.167    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,888.75
                                                                Check all that apply.
Shrieve Chemical Company,Inc.                                    Contingent
1755 WOODSTEAD COURT                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Spring                                 TX       77380           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     7    8   2
                                                                 No
                                                                 Yes

  3.168    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Sonya Coleman, Indv et al.                                       Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.169    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $170.87
                                                                Check all that apply.
SPX Cooling Technologies Inc.                                    Contingent
7401 W 129th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Overland Park                          KS       66213           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    0   3
                                                                 No
                                                                 Yes

  3.170    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,047.39
                                                                Check all that apply.
Standard Laboratories, Inc.                                      Contingent
1530 North Cullen Ave.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Evansville                             IN       47715           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     5    0   7
                                                                 No
                                                                 Yes

  3.171    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $707.16
                                                                Check all that apply.
Star International Inc.                                          Contingent
250 S. Kings Hwy                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Texarkana                              TX       75504           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    7   0
                                                                 No
                                                                 Yes

  3.172    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Steven Brown                                                     Contingent
c/o Miller Weisbrod, LLP                                         Unliquidated
11551 Forest Central Dr Suite 300                                Disputed
                                                                Basis for the claim:
Dallas                                 TX       75243           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.173    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Steven Napier Ind/Est of S.Napier                                Contingent
c/o Arnold & Itkin LLP                                           Unliquidated
3615 N Hall St                                                   Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.174    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $141.61
                                                                Check all that apply.
Sun Coast Resources, Inc.                                        Contingent
P.O. Box 202603                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75320           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    6   9
                                                                 No
                                                                 Yes

  3.175    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Susan Sheridan, Indv, et al                                      Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.176    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,777.18
                                                                Check all that apply.
Technical Industrial Services                                    Contingent
924 Sheffield St                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cambria                                CA       93428           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     2    8   7
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.177    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $569,872.75
                                                                Check all that apply.
TEi Construction Services, Inc.                                  Contingent
170 Tucapau Rd                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Duncan                                 SC       29334           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    4   6
                                                                 No
                                                                 Yes

  3.178    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $5,895.25
                                                                Check all that apply.
Tenaska Energy, Inc.                                             Contingent
dba Tenaska Power Services                                       Unliquidated
14302 FNB Parkway                                                Disputed
                                                                Basis for the claim:
Omaha                                  NE       68154           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    4   4
                                                                 No
                                                                 Yes

  3.179    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Thania Prudencio and Andrea Avelar                               Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.180    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $53.47
                                                                Check all that apply.
The EADS Company                                                 Contingent
13843 N. Promenade Blvd.                                         Unliquidated
Suite 100                                                        Disputed
                                                                Basis for the claim:
Stafford                               TX       77477           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    6   7
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.181    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $729.75
                                                                Check all that apply.
Thermo Environmental Instruments                                 Contingent
27 Forge Parkway                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Franklin                               MA       02038           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     1    8   1
                                                                 No
                                                                 Yes

  3.182    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $85,130.50
                                                                Check all that apply.
Thompson Industrial Services LLC                                 Contingent
104 N Main Street                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Sumter                                 SC       29150           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     2    7   9
                                                                 No
                                                                 Yes

  3.183    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:               $1,259,058.50
                                                                Check all that apply.
Toshiba America Energy Systems                                   Contingent
6623 West Washington Street                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Milwaukee                              WI       53214           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     2    3   5
                                                                 No
                                                                 Yes

  3.184    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Toya Cox, Indv, et al.                                           Contingent
c/o Mostyn Law                                                   Unliquidated
3810 W Alabama St                                                Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.185    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Tracy Calvert, Indv, & et al.                                    Contingent
c/o Spagnoletti Law Firm                                         Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.186    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $173,243.00
                                                                Check all that apply.
Travis Industries, LLC                                           Contingent
8032 Rendon Bloodworth Rd.                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mansfield                              TX       76063           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     5    6   4
                                                                 No
                                                                 Yes

  3.187    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $12,285.00
                                                                Check all that apply.
Trinity Industries Leasing Co.                                   Contingent
2525 N. Stemmons Freeway                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75207           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     6    8   1
                                                                 No
                                                                 Yes

  3.188    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1,725.00
                                                                Check all that apply.
United Conveyor Corporation                                      Contingent
dba UCC Environmental                                            Unliquidated
2100 Norman Dr.                                                  Disputed
                                                                Basis for the claim:
Waukegan                               IL       60085           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     6    1   9
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 48
                   Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 67 of 94
Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.189    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $255.75
                                                                Check all that apply.
United Conveyor Supply Company                                   Contingent
2921 Brown Trail                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bedford                                TX       76021           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    1   3
                                                                 No
                                                                 Yes

  3.190    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $2,879.97
                                                                Check all that apply.
United Rentals (North America), Inc.                             Contingent
100 Stamford Pl. Ste 700                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Stamford                               CT       06902           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     0    3   1
                                                                 No
                                                                 Yes

  3.191    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Valerie Daniels                                                  Contingent
c/o Spangnotti Law Firm                                          Unliquidated
401 Louisiana St 8th fl                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.192    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $44.64
                                                                Check all that apply.
Verizon Wireless                                                 Contingent
P.O. Box 660108                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    3   0
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 49
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.193    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $5,800.50
                                                                Check all that apply.
Vinson & Elkins LLP                                              Contingent
P.O. BOX 200113                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77216           Legal Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    3   1
                                                                 No
                                                                 Yes

  3.194    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $51,586.75
                                                                Check all that apply.
Vinson Process Controls Co, LP                                   Contingent
2747 Highpoint Oaks Drive                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lewisville                             TX       75067           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     1    7   1
                                                                 No
                                                                 Yes

  3.195    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $2,837.50
                                                                Check all that apply.
Wales Industrial Service, Inc.                                   Contingent
220066 Bush Drive                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Woodway                                TX       76712           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     2    1   8
                                                                 No
                                                                 Yes

  3.196    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $20,279.00
                                                                Check all that apply.
Waste Management National Serv                                   Contingent
1901 AFTON RD                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77055           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       1     4    7   8
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 50
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                          Case number (if known)      22-30682 (DRJ)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.197    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Wells Fargo Bank, National Association                           Contingent
Attn:Corporate Trust Services (Brazos)                           Unliquidated
45 Broadway, 14th Floor                                          Disputed
                                                                Basis for the claim:
New York                               NY       10006           .

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.198    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $5,568.75
                                                                Check all that apply.
Wells Fargo Rail Corporation                                     Contingent
6250 River Road, Suite 5000                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Des Plaines                            IL       60018           Goods/services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number       0     6    4   3
                                                                 No
                                                                 Yes

  3.199    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Yolanda Campos Espinosa, et al.                                  Contingent
c/o The Buzbee Law Firm                                          Unliquidated
600 Travis St, Ste 7300                                          Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Pending Litigation

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 51
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Debtor        Brazos Sandy Creek Electric Cooperative, Inc.                                Case number (if known)   22-30682 (DRJ)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      City of Waco, et al., Texas                                           Line
         c/o Tara LeDay                                                               Not listed. Explain:
                                                                               
         P.O.Box 1269                                                                 Notice Only


         Round Rock                    TX      78680-1269


4.2      Electric Reliability Council of TX Inc.                               Line

         c/o Munsch Hardt Kopf & Harr, PC                                             Not listed. Explain:
                                                                               
         500 N. Akard St., Suite 3800                                                 Notice Only


         Dallas                        TX      75201-6659


4.3      Internal Revenue Service                                              Line
         Centralized Insolvency Operations                                            Not listed. Explain:
                                                                               
         P.O. Box 7346                                                                Notice Only


         Philadelphia                  PA      19101-7346


4.4      Jason Boland                                                          Line      3.24
         Norton Rose Fulbright US LLP                                                 Not listed. Explain:
                                                                               
         1301 McKinney St., Ste 5100


         Houston                       TX      77010


4.5      Lower Colorado River Authority                                        Line
         c/o Jackson Walker/B. Ruzinsky                                               Not listed. Explain:
                                                                               
         1401 McKinney St., Suite 1900                                                Notice Only
         Houston, TX 7010-1900



4.6      Lower Colorado River Authority                                        Line
         c/o Jackson Walker/Scott Rose                                                Not listed. Explain:
                                                                               
         112 E.Pecan St., Suite 2400                                                  Notice Only


         San Antonio                   TX      78205




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 52
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                       Case number (if known)   22-30682 (DRJ)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                     related creditor (if any) listed?             account number,
                                                                                                                   if any

4.7      McLennan County Appraisal Dist.                             Line
         315 S. 26th Street                                                 Not listed. Explain:
                                                                     
                                                                            Notice Only


         Waco                       TX    76710


4.8      Michael K. Rjordan                                          Line       3.24
         Foley & Lardner LLP                                                Not listed. Explain:
                                                                     
         1000 Louisiana St. Ste 2000


         Houston                    TX    77002


4.9      Rural Utilities Service                                     Line

         1400 Independence Ave. S.W.                                        Not listed. Explain:
                                                                     
         Room 4121 South                                                    Notice Only


         Washington                 DC    20250


4.10     Sandy Creek Energy Assoc, LP                                Line
         c/o Ls Power Development LLC                                       Not listed. Explain:
                                                                     
         2 Tower Center Blvd 11th Floor                                     Notice Only


         East Brunswick             NJ    08816-1100


4.11     Sandy Creek Energy Assoc, LP                                Line
         c/o White & Case LLP/G.Stamer                                      Not listed. Explain:
                                                                     
         1221 Avenue of the Americas                                        Notice Only


         New York                   NY    10020


4.12     Sandy Creek Services, LLC                                   Line
         1 Tower Center Blvd Fl 21 E                                        Not listed. Explain:
                                                                     
                                                                            .


         Brunswick                  NJ    08816-1145


4.13     Sean A. Godon/Curtis L. Tuggle                              Line       3.40
         Thompson Hine LLP                                                  Not listed. Explain:
                                                                     
         3560 Lenox Rd., Suite 1600
         Two Alliance Center
         Atlanta                    GA    30326-4266



Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 53
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                       Case number (if known)   22-30682 (DRJ)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                     related creditor (if any) listed?             account number,
                                                                                                                   if any

4.14     Texas Attorney General                                      Line
         Bankruptcy & Collections Div.                                      Not listed. Explain:
                                                                     
         PO Box 12548                                                       Notice Only


         Austin                     TX    78711


4.15     Texas Commission Environmental Quality                      Line
         Attn: Bankruptcy Dept                                              Not listed. Explain:
                                                                     
         P.O.Box 13087                                                      Notice Only


         Austin                     TX    78711-3987


4.16     Texas Comptroller of Public Accounts                        Line

         P.O. Box 12548                                                     Not listed. Explain:
                                                                     
                                                                            Sales Taxes


         Austin                     TX    78711-2548


4.17     Texas Energy Reliability Council                            Line
         PO Box 12987                                                       Not listed. Explain:
                                                                     
                                                                            Notice Only


         Austin                     TX    78711-2967


4.18     Texas Environmental Protection                              Line
         Agency                                                             Not listed. Explain:
                                                                     
         1201 Elm St., Suite 500                                            Notice Only


         Dallas                     TX    75270


4.19     Texas Public Utility Commission                             Line
         1701 N. Congress Ave.                                              Not listed. Explain:
                                                                     
         PO Box 13326                                                       Notice Only


         Austin                     TX    78711-3326


4.20     U.S. Department of Energy                                   Line

         1000 Independence Ave. SW                                          Not listed. Explain:
                                                                     
                                                                            Notice Only


         Washington                 DC    20585



Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 54
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Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                       Case number (if known)   22-30682 (DRJ)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                     related creditor (if any) listed?             account number,
                                                                                                                   if any

4.21     U.S. Trustee                                                Line
         for Southern District TX                                           Not listed. Explain:
                                                                     
         515 Rusk Ave., Ste.3516                                            Notice Only


         Houston                    TX     77002


4.22     United States Attorney's Office                             Line
         for Southern District TX                                           Not listed. Explain:
                                                                     
         1000 Louisiana, Ste 2300                                           Notice Only


         Houston                    TX     77002




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 55
                   Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 74 of 94
Debtor      Brazos Sandy Creek Electric Cooperative, Inc.                     Case number (if known)      22-30682 (DRJ)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $4,142,046.21


5c. Total of Parts 1 and 2                                                                5c.              $4,142,046.21
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 56
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 Fill in this information to identify the case:
 Debtor name         Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         22-30682 (DRJ)                           Chapter       7                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       See attached Schedule G Exhibit                 Bluegrass Commodities LP
          or lease is for and the
                                                                                        c/o Javelin Global Commodities
          nature of the debtor's
          interest                                                                      7 Howick Place
                                                                                        London SW1P 1BB UK
          State the term remaining
          List the contract
          number of any
          government contract

2.2       State what the contract       See attached Schedule G Exhibit                 Burns & McDonnell Engineering Co, I
          or lease is for and the
                                                                                        1431 Opus Place, Suite 400
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Downers Grove                       IL            60515
          government contract

2.3       State what the contract       See attached Schedule G Exhibit                 Cloud Peak Energy Resources LLC
          or lease is for and the
                                                                                        385 Interlocken Crescent, #400,
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Broomfield                          CO            80021
          government contract

2.4       State what the contract       See attached Schedule G Exhibit                 Crimson Engineering Soluctions, LLC
          or lease is for and the
                                                                                        d/b/a Certrec Corporation
          nature of the debtor's
          interest                                                                      6100 Western Place, Suite 1050

          State the term remaining
          List the contract
          number of any
                                                                                       Ft. Worth                           TX            76107
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 76 of 94
Debtor       Brazos Sandy Creek Electric Cooperative, Inc.                        Case number (if known)   22-30682 (DRJ)



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      See attached Schedule G Exhibit          Helm Pacific Leasing
          or lease is for and the
                                                                                c/o Helm Pacific Corp.
          nature of the debtor's
          interest                                                              505 Sansome St. #1800

          State the term remaining
          List the contract
          number of any
                                                                                San Francisco                   CA        94111
          government contract

2.6       State what the contract      See attached Schedule G Exhibit          NAES Corporation
          or lease is for and the
                                                                                General Counsel
          nature of the debtor's
          interest                                                              1180 NW Maple St #200

          State the term remaining
          List the contract
          number of any
                                                                                Issaquah                        WA        98027
          government contract

2.7       State what the contract      Master Coal Supply Agreement      Peabody COALSALES, LLC
          or lease is for and the      between Peabody and Sandy Creek   701 Market Street
          nature of the debtor's       Energy Assoc., LP,BSCEC and Lower
          interest                     Colorado River Authority
          State the term remaining
          List the contract
          number of any
                                                                                St. Louis                       MO        63101
          government contract

2.8       State what the contract      See attached Schedule G Exhibit          Power Max Consulting, Inc.
          or lease is for and the
                                                                                6834 Third St.
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                Lanhan                          MD        20706-1020
          government contract

2.9       State what the contract      See attached Schedule G Exhibit          Sandy Creek Services, LLC
          or lease is for and the
                                                                                c/o LS Power Development,LP
          nature of the debtor's
          interest                                                              Two Tower Ctr 11th FL.

          State the term remaining
          List the contract
          number of any
                                                                                East Brunswick                  NJ        08816
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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Debtor        Brazos Sandy Creek Electric Cooperative, Inc.                        Case number (if known)   22-30682 (DRJ)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.10       State what the contract      See attached Schedule G Exhibit          Sargent & Lundy, LLC
           or lease is for and the
                                                                                 Attn: Brian Faga
           nature of the debtor's
           interest                                                              55 E. Monroe St.

           State the term remaining
           List the contract
           number of any
                                                                                 Chicago                         IL        60603
           government contract

2.11       State what the contract      See attached Schedule G Exhibit          Sterns Conrad & Schmidt Consulting Eng
           or lease is for and the
                                                                                 1901 Central Drive, Suite 550
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Bedford                         TX        76021
           government contract

2.12       State what the contract      See attached Schedule G Exhibit          Tenaska Power Services Co.
           or lease is for and the
                                                                                 300 E. John Carpenter Frwy, Ste 1100
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Irving                          TX        75062
           government contract

2.13       State what the contract      See attached Schedule G Exhibit          Trinity Industries Leasing Co
           or lease is for and the
                                                                                 2525 Stemmons Frwy
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Dallas                          TX        75207
           government contract

2.14       State what the contract      See attached Schedule G Exhibit          Twin Eagle Resource Mgmt, LLC
           or lease is for and the
                                                                                 8847 West Sam Houston Pkwy N
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Houston                         TX        77040
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 3
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 78 of 94
Debtor        Brazos Sandy Creek Electric Cooperative, Inc.                        Case number (if known)   22-30682 (DRJ)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.15       State what the contract      See attached Schedule G Exhibit          Union Pacific Railroad Co
           or lease is for and the
                                                                                 1400 Douglas Street
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Omaha                           NE        68179
           government contract

2.16       State what the contract      See attached Schedule G Exhibit          Waste Management Natl Serv
           or lease is for and the
                                                                                 720 E. Butterfield Rd.
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Lombard                         IL        60148
           government contract

2.17       State what the contract      See attached Schedule G Exhibit          WL Ross Greenbrier Rail I LLC
           or lease is for and the
                                                                                 c/o Greenbrier Mgmt Services LLC,
           nature of the debtor's
           interest                                                              One Centerpoint #400

           State the term remaining
           List the contract
           number of any
                                                                                 Lake Oswego                     OR        97035
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 4
                     Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 79 of 94

 Fill in this information to identify the case:
 Debtor name         Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         22-30682 (DRJ)                                                                               Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
                           Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 80 of 94

 Fill in this information to identify the case:


 Debtor Name Brazos Sandy Creek Electric Cooperative, Inc.

 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                22-30682 (DRJ)                                                                                                                                     Check if this is an
                                                                                                                                                                                            amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                  $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                       $470,842,654.17

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                      $470,842,654.17


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                   $379,740,331.49

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                                 $0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +     $4,142,046.21


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $383,882,377.70




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                Schedule B / 7.1 Deposits and 8 Prepaid Expenses


Prepaid Expenses and Deposit Summary
Estimates as of 03/18/2022




Deposits
Riesel Water Prepayment                                       500.00
Trash Disposal Prepayment                                     185.38
Navasota Valley Electricity Prepayment                         19.35

Total Deposits                                                704.73

Prepaid Expenses
Estimated NAES (March)                                     120,065.48
NAES Credit Card Prefunding                                  3,750.00
50% SCR (10% upon PO & 40% Upon Production)                160,112.50   balance as of 2/28/22
50% Pulverizer Inspection (50% 4 Weeks Prior to Arrival)     2,075.00   balance as of 2/28/22
20% HP/IP Turbine Overhaul (20% upon PO)                   159,219.10   balance as of 2/28/22
30% Stage 9 Blade & Diaphragm Replacement                  115,245.00   balance as of 2/28/22
50% B4 Burner Expansion Joint Ring                             962.50   balance as of 2/28/22
25% Toshiba HMI Upgrade                                        925.73   balance as of 2/28/22
2022 Certrec NERC Compliance Support (1/1-12/31/22)          9,293.77
F9 Renewal (6/15-6/14/23)                                       78.65
Content Central Renew (6/16-6/15/23)                           450.00
Fuelworx Licensing (11/08/21-11/07/22)                       4,714.54
Argus Coal Daily (8/23/21-8/22/22)                           1,677.63
Maximo Licensing Renewals (1/01/22-12/31/22)                10,571.85
Maximo Licensing Renewals (8/1/21-7/31/22)                     814.05
Prepaid Railcars                                            25,980.00

Prepaid Insurance                                          233,929.76

Total Prepaid Expenses                                     849,865.55
                                                       EXHIBIT
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                                              Schedule B / Question 47
                                                   Titled Vehicles

Year           Make       Model                    Description                   VIN#           Purchase Price    Own/ Lease
 2011   Caterpillar          D9T         Dozer with Blade                      RJS01733                 $939,225        Own
 2000   Caterpillar          D9R         Dozer                                 7TL01344                 $435,000        Own
 2011   Shuttle Wagon      SWX-420       Railcar Mover                          SWX420                  $270,125        Own
 2011   Caterpillar         342 DL       Hydraulic Excavator (Trac Hoe)         PYT0375                 $249,784        Own
 2008   Caterpillar          613C        Water Wagon                            8LJ3416                 $242,307        Own
 2006   Caterpillar         TH460B       Telehandler with Lifting Hook         SLF02662                  $57,200        Own
 2011   Caterpillar          262C        Skid Steer                             MST3892                  $47,788        Own
 2011   Hyster Fortis       S10FTS       Forklift                            EV010V02965F                $22,500        Own
 2007   Kawasaki          KAF620-J7F     Utility Task Vehicle             JK1AFCJ107B520316              $11,053        Own
 2007   Kawasaki          KAF620-J7F     Utility Task Vehicle             JK1AFCE1378547973              $11,053        Own
 2014   ExMark            PNS69K523      Zero Turn Mower                       314619713                   $5,400       Own
 2013   Yamaha              YDREX        Electric 4WD Passenger Cart             None                      $4,800       Own
 2012   Yamaha              48 Volt      Golf Cart                            JW9-101121                   $2,930       Own
 2020   Caterpillar         8,000#       Forklift                             AT12C00166                               Lease
 2021   Skyjack            SJIII3226     Scissor Lift                          27019838                    $7,995       Own




                                                                                        Total             $2,299,165

                                                                                                     x 25% = $574,791.25



                 BSCEC is allocated 25% of the total as per its TIC Interest.
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                                                                                             L2096656.XLSX     February 2022 Physical Plant Allocation


                                                                                     Beginning Balance Additions (see tab 2 & 3)   Moved to Asset   Ending Balance        Per GL         Difference

15140   107-OAM-00-00   CWIP - DCS Hardware/Software Upgrade                               526,851.60                460,995.15                 -        987,846.75        987,846.75                 -
15185   107-OAM-00-00   CWIP - Construction Landfill Cell #3                             2,444,429.40                 13,340.00                 -      2,457,769.40      2,457,769.40                 -
15215   107-OAM-00-00   CWIP - Upgrade Plant Paving                                               -                         -                   -               -                 -                   -
15270   107-OAM-00-00   CWIP - Simulator Upgrade                                                  -                  110,000.00                 -        110,000.00        110,000.00                 -
15275   107-OAM-00-00   CWIP - Update SEL Hardware/Software                                 35,620.80                       -                   -         35,620.80         35,620.80                 -
15280   107-OAM-00-00   CWIP - Hitachi to Emerson BFPT Controls Upgrade                           -                         -                   -               -                 -                   -
15285   107-OAM-00-00   CWIP - Fly Ash Capital Improvements                                       -                   31,458.34                 -         31,458.34         31,458.34                 -
                        Total CWIP                                                       3,006,901.80                615,793.49                 -      3,622,695.29      3,622,695.29                 -


16510   101-OAM-00-00   Plant Assets - Auxiliary Power (AP)                             43,297,360.09                       -                   -       43,297,360.09    43,297,360.09                -
16520   101-OAM-00-00   Plant Assets - Ash System (AS)                                  10,824,536.38                       -                   -       10,824,536.38    10,824,536.38                -
16530   101-OAM-00-00   Plant Assets - Bulk Material (BM)                                  147,989.01                       -                   -          147,989.01       147,989.01                -
16540   101-OAM-00-00   Plant Assets - Building System (BS)                            217,416,215.71                       -                   -      217,416,215.71   217,416,215.71                -
16550   101-OAM-00-00   Plant Assets - Compressed Air (CA)                               3,190,158.98                       -                   -        3,190,158.98     3,190,158.98                -
16560   101-OAM-00-00   Plant Assets - Chemical Control (CC)                           168,639,144.35                       -                   -      168,639,144.35   168,639,144.35                -
16570   101-OAM-00-00   Plant Assets - Construction Facility (CF)                                 -                         -                   -                0.00             0.00                -
16580   101-OAM-00-00   Plant Assets - Compressed Gas Storage (CG)                       2,400,836.11                       -                   -        2,400,836.11     2,400,836.11                -
16590   101-OAM-00-00   Plant Assets - Coal Handling (CH)                               85,890,301.67                       -                   -       85,890,301.67    85,890,301.67                -
16600   101-OAM-00-00   Plant Assets - Communication Management (CM)                       417,685.85                       -                   -          417,685.85       417,685.85                -
16610   101-OAM-00-00   Plant Assets - Control Operations (CO)                           8,176,053.13                       -                   -        8,176,053.13     8,176,053.13                -
16620   101-OAM-00-00   Plant Assets - Cathodic Protection                                 164,447.56                       -                   -          164,447.56       164,447.56                -
16630   101-OAM-00-00   Plant Assets - Drains & Plumbing (DP)                              213,769.33                       -                   -          213,769.33       213,769.33                -
16640   101-OAM-00-00   Plant Assets - Equipment Cooling (EC)                            3,650,603.96                       -                   -        3,650,603.96     3,650,603.96                -
16650   101-OAM-00-00   Plant Assets - Electrical External (EE)                          8,567,384.75                       -                   -        8,567,384.75     8,567,384.75                -
16660   101-OAM-00-00   Plant Assets - Fuel Gas (FG)                                     5,416,226.72                       -                   -        5,416,226.72     5,416,226.72                -
16670   101-OAM-00-00   Plant Assets - Fire Protection (FP)                             16,049,453.52                       -                   -       16,049,453.52    16,049,453.52                -
16680   101-OAM-00-00   Plant Assets - Feed Water (FW)                                  80,408,602.72                       -                   -       80,408,602.72    80,408,602.72                -
16690   101-OAM-00-00   Plant Assets - Generator Terminal (GT)                          19,667,164.09                       -                   -       19,667,164.09    19,667,164.09                -
16700   101-OAM-00-00   Plant Assets - Heat Recovery (HR)                               65,513,347.18                       -                   -       65,513,347.18    65,513,347.18                -
16710   101-OAM-00-00   Plant Assets - Lighting Terminal (LT)                            5,196,336.90                       -                   -        5,196,336.90     5,196,336.90                -
16720   101-OAM-00-00   Plant Assets - Plant Maintenance (PM)                            1,545,750.17                       -                   -        1,545,750.17     1,545,750.17                -
16730   101-OAM-00-00   Plant Assets - Primary Power (PP)                                5,271,716.49                       -                   -        5,271,716.49     5,271,716.49                -
16740   101-OAM-00-00   Plant Assets - Pegging Steam (PS)                                8,633,169.38                       -                   -        8,633,169.38     8,633,169.38                -
16750   101-OAM-00-00   Plant Assets - Sampling & Analysis (SA)                          1,775,971.59                       -                   -        1,775,971.59     1,775,971.59                -
16760   101-OAM-00-00   Plant Assets - Space Conditioning (SC)                          13,467,719.92                       -                   -       13,467,719.92    13,467,719.92                -
16770   101-OAM-00-00   Plant Assets - Steam Generator - Boiler (SG)                   449,493,949.99                       -                   -      449,493,949.99   449,493,949.99                -
16780   101-OAM-00-00   Plant Assets - Site Topography (ST)                            222,832,397.66                       -                   -      222,832,397.66   222,832,397.66                -
16790   101-OAM-00-00   Plant Assets - Turbine Extraction (TE)                          17,529,434.16                       -                   -       17,529,434.16    17,529,434.16                -
16800   101-OAM-00-00   Plant Assets - Turbine Generator (TG)                          135,161,460.93                       -                   -      135,161,460.93   135,161,460.93                -
16810   101-OAM-00-00   Plant Assets - Water Supply (WS)                                52,230,401.00                       -                   -       52,230,401.00    52,230,401.00                -
16820   101-OAM-00-00   Plant Assets - Water Treatment (WT)                             13,796,615.04                       -                   -       13,796,615.04    13,796,615.04                -
16830   101-OAM-00-00   Plant Assets - Waste Collection and Treatment (WW)               1,430,689.20                       -                   -        1,430,689.20     1,430,689.20                -
16840   101-OAM-00-00   Plant Assets - WMARRS (RW)                                      26,812,714.53                       -                   -       26,812,714.53    26,812,714.53                -
16850   101-OAM-00-00   Plant Assets - Capacitor Bank (CB)                              14,092,889.60                       -                   -       14,092,889.60    14,092,889.60                -
16860   101-OAM-00-00   Plant Assets - Solid Waste Landfill (SW)                         1,262,830.85                       -                   -        1,262,830.85     1,262,830.85                -
                        Total Physical Plant                                         1,710,585,328.52                       -                   -   1,710,585,328.52 1,710,585,328.52                 -




                                                                             EXHIBIT 50A Schedule B / Question 50

                                                                  BSCEC is allocated 25% of the total as per its TIC interest



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2022-Current Month Rollforward

                                                            Ending Balance      Additions    Disposals   Ending Balance     Detail Balance
Account    Subaccount               Description               1/31/2022         See Tab 4    See Tab 5     2/28/2022         From Tab 3 Difference   Check

16100     101-OAM-00-00   Tools & Equip Purch                       14,886.24         -            -            14,886.24        14,886.24      -     -
16105     101-OAM-00-00   Mechanical Tools & Equip                 169,670.57         -            -           169,670.57      169,670.57       -     -
16110     101-OAM-00-00   Electrical Tools & Equip                  47,124.11         -            -            47,124.11       47,124.11       -     -
16115     101-OAM-00-00   Laboratory Equipment                     219,439.93         -            -           219,439.93      219,439.93       -     -
16120     101-OAM-00-00   Safety Equipment                          16,801.70         -            -            16,801.70       16,801.70       -     -
16125     101-OAM-00-00   Plant Radios & Equipment                 103,062.46         -            -           103,062.46      103,062.46       -     -
16130     101-OAM-00-00   Warehouse Storage/Office                  49,593.97         -            -            49,593.97       49,593.97       -     -
16135     101-OAM-00-00   Operations Tools                          29,803.00         -            -            29,803.00       29,803.00       -     -
16140     101-OAM-00-00   Office Furniture & Equipment             136,776.79         -            -           136,776.79      136,776.79       -     -
16145     101-OAM-00-00   Computer Hardware                        112,488.99         -            -           112,488.99      112,488.99       -     -
16150     101-OAM-00-00   Computer Software                        215,927.00         -            -           215,927.00      215,927.00       -     -
16155     101-OAM-00-00   Telephone Systems                         33,563.24         -            -            33,563.24       33,563.24       -     -
16165     101-OAM-00-00   Plant Heavy Eqmt - Rolling Sto         1,923,209.25         -            -         1,923,209.25    1,923,209.25       -     -
16170     101-OAM-00-00   Plant Passenger Vehicles & Sma             8,700.00         -            -             8,700.00        8,700.00       -     -
                                                                3,081,047.25          -            -        3,081,047.25     3,081,047.25       -     -




                                                           EXHIBIT 50 B Schedule B / Question 50

                                              BSCEC is allocated 25% of the total as per its TIC interest
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 Acct     Date                        Description                          Type                   GL Description     Debit      Credit  Amount (Net)
16100 2/19/2013     Cleco 75 RNAL 2 X 4/34                         Construction   100037 FASTENAL                    4,891.24      0.00     4,891.24
16100 2/27/2013     UE Systems - Ultra Probe                       Construction   100923 UE Systems                  9,995.00      0.00     9,995.00
16100 Total                                                                                                                                14,886.24
16105 2/28/2011     Digital Hydrometer                             Construction   NAES Import                        2,426.64      0.00     2,426.64
16105 6/10/2011     25 ton Hydraulic Press                         Construction   100037 FASTENAL                    2,996.67      0.00     2,996.67
16105 6/15/2011     FLIR T-640                                     Construction   FLR FLIR Systems, Inc             24,933.62      0.00    24,933.62
16105 6/23/2011     VIBXPERT-II 2-channel system                   Construction   100274 Ludeca, Inc.               25,993.95      0.00    25,993.95
16105    7/5/2011   42 X 24 Flip Top Cab                           Construction   100037 FASTENAL                    3,222.46      0.00     3,222.46
16105    7/5/2011   Micrometer set                                 Construction   100047 Grainger                    2,989.36      0.00     2,989.36
16105 7/21/2011     Radeye 3 Personal Dose Meter                   Construction   100047 Grainger                    1,142.73      0.00     1,142.73
16105 7/29/2011     Radeye 3 Personal Dose Meter                   Construction   100047 Grainger                    1,142.72      0.00     1,142.72
16105    8/1/2011   Piercing Rod Assembly and Cart                 Construction   100227 Hazard Control Technolo     9,178.33      0.00     9,178.33
16105 8/10/2011     Hotsy High Pressure Cleaning System            Construction   100230 Hotsy/Carlson Equipment    20,035.50      0.00    20,035.50
16105 8/10/2011     FLIR 640-T Lens and Software                   Construction   FLR FLIR Systems, Inc              4,966.79      0.00     4,966.79
16105 8/24/2011     Evaporative Fan                                Construction   100092 Richards Supply Company     2,976.00      0.00     2,976.00
16105 8/24/2011     Encapsulator Technology Cart                   Construction   100227 Hazard Control Technolo     6,022.54      0.00     6,022.54
16105    9/7/2011   Welded Bin Cabinet                             Construction   100047 Grainger                    1,669.37      0.00     1,669.37
16105 12/6/2011     E710 Wireless Shaft Alignment System           Construction   100795 Easy-Laser E710 Wireles    14,200.00      0.00    14,200.00
16105 12/13/2011    1" Drive Torque Wrench                         Construction   100804 1" Drive Torque Wrench-     1,275.44      0.00     1,275.44
16105 12/20/2011    Model P22+ Crimper                             Construction   100804 CRIMPER, MODEL P22+         2,963.25      0.00     2,963.25
16105 1/23/2012     Bruno Packing Tool Set                         Construction   100804 BRUNO PACKING TOOL SET      1,932.00      0.00     1,932.00
16105 1/26/2012     Digital Ultrasonic Thickness Gauge             Construction   100817 Digital Ultrasonic Thic     3,900.00      0.00     3,900.00
16105 2/29/2012     Barco Pump                                     Construction   100813 Barco Pump                 25,496.20      0.00    25,496.20
16105 4/25/2012     Retract Tool Assembly                          Construction   Retract Tool Assembly              4,915.05      0.00     4,915.05
16105 8/31/2012     3" Trash Pump W/ Diesel                        Construction   100831 3" Trash Pump W/ Diesel     3,364.95      0.00     3,364.95
16105 8/31/2012     Welding Machine                                Construction   100776 Welding Machine             1,927.00      0.00     1,927.00
16105 Total                                                                                                                               169,670.57
16110 1/31/2011     Calibrators (2)                                Construction   NAES Import                       21,329.00      0.00    21,329.00
16110 6/10/2011     Digital Ohmmeter                               Construction   100006 Airgas - Southwest          3,995.00      0.00     3,995.00
16110 6/10/2011     5KB Megger and Oscilloscope                    Construction   100006 Airgas - Southwest          5,504.00      0.00     5,504.00
16110 10/11/2011    USB 8486 Foundation for Fieldbus Integration   Construction   100768 NI USB 8486 for Foundat     1,899.00      0.00     1,899.00
16110 12/13/2011    Digital Ohmmeter                               Construction   100219 DLRO                        3,370.00      0.00     3,370.00
16110 12/19/2011    Ingersoll-Rand Air Wench                       Construction   100037 Air Winch, Ingersoll-Ra     6,644.37      0.00     6,644.37
16110 12/19/2011    12 Ton Roller Kit                              Construction   100037 Hilman Rollers Roller K     1,082.76      0.00     1,082.76
16110 12/19/2011    Portable Gantry Crane                          Construction   100037 Portable Gantry Crane,      3,299.98      0.00     3,299.98
16110 Total                                                                                                                                47,124.11
16115 2/28/2011     Marvel Scientific Refrigerator                 Construction   NAES Import                        1,410.93      0.00     1,410.93
16115    7/5/2011   Spectophotometer and Accessories               Construction   100049 Hach Company                5,964.13      0.00     5,964.13
16115 7/21/2011     Simple SDI Meter                               Construction   100281 Procam Controls, Inc.       2,409.56      0.00     2,409.56
16115 12/12/2011    Hach PH Meter Kit                              Construction   100049 Hach PH Meter Kit           3,838.00      0.00     3,838.00
16115    1/9/2012   AquaPal III Karl Fischer Titrater              Construction   100811 AquaPal III Karl Fische     7,068.00      0.00     7,068.00
16115 2/29/2012     TS Barnstead Water Purification System         Construction                                      6,028.72      0.00     6,028.72
16115 3/31/2012     Lab Casework/FumeHood                          Construction                                     32,459.90      0.00    32,459.90
16115    4/9/2012   Wallace & Tierman A-790                        Construction                                      2,644.00      0.00     2,644.00
16115 4/25/2012     Sample Panel RM & WTR                          Construction                                      7,880.00      0.00     7,880.00
16115 6/27/2012     Final Installation of Lab Equipment            Construction                                     10,576.10      0.00    10,576.10
16115    8/6/2012   Lab Sink                                       Construction   100047 SS Lab Sink                 1,409.36      0.00     1,409.36
16115 10/31/2012    TOC Analyzer                                   Construction   100872 Model 5310C TOC Analyzer   21,682.20      0.00    21,682.20
16115 10/31/2012    ICS-2100 Unit                                  Construction   100861 ICS-2100                   53,777.27      0.00    53,777.27
16115 10/31/2012    GFA 7000                                       Construction   100862 GFA 7000                    8,629.20      0.00     8,629.20
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16115 10/31/2012    ASC 7000 Autosampler                           Construction     100862 Autosampler                                    5,324.40   0.00     5,324.40
16115 10/31/2012    AAC Graphite Furnace                           Construction     100862 Graphite Furnace                              14,798.16   0.00    14,798.16
16115 1/31/2013     Sample Panel Room HVAC                         Construction     100300 Sample Panel Room HVAC                        33,540.00   0.00    33,540.00
16115 Total                                                                                                                                                 219,439.93
16120 2/28/2011     2 Gas Monitors                                 Construction     NAES Import                                           9,283.10   0.00     9,283.10
16120 3/31/2011     Redtag Pro LOTO Software                       Construction     NAES Import                                           7,518.60   0.00     7,518.60
16120 Total                                                                                                                                                  16,801.70
16125 1/31/2011     Plant Radios                                   Construction     NAES Import                                          94,250.31   0.00    94,250.31
16125 4/30/2011     4 Plant Radios                                 Construction     NAES Import                                           3,655.65   0.00     3,655.65
16125 12/20/2011    5 Radios and Labor                             Construction     100023 LABOR                                          1,575.00   0.00     1,575.00
16125 12/20/2011    5 Radios and Labor                             Construction     100023 MOTOTRBO XPR 4550, 450-                        3,581.50   0.00     3,581.50
16125 Total                                                                                                                                                 103,062.46
16130 4/30/2011     Pallet racking and shelving                    Construction     NAES Import                                          16,517.00   0.00    16,517.00
16130 7/21/2011     Evaporative fan - warehouse                    Construction     100047 Grainger                                       2,024.65   0.00     2,024.65
16130 12/12/2011    Handheld Scanners and Accessories              Construction     100786 CK3 - 802.11 A/B/G, IMA                        2,798.00   0.00     2,798.00
16130 6/20/2012     Warehouse Shelving                             Construction     100047 Lyons Pre-Engineered Shelving                 10,304.32   0.00    10,304.32
16130 10/31/2012    Connex Containers                              Construction     100221 40' Connex Containers                          5,200.00   0.00     5,200.00
16130 10/31/2012    Maintenance Shop Modifications                 Construction     Maintenance Shop Modifications                       12,750.00   0.00    12,750.00
16130 Total                                                                                                                                                  49,593.97
16135 12/12/2011    Handheld Scanners and Accessories              Construction     100786 CK32 - 56 IMAGER SCANNE                       24,594.00   0.00    24,594.00
16135 12/12/2011    Quad Charger                                   Construction     100786 QUADCHARGER FOR CK32                           1,288.00   0.00     1,288.00
16135 12/12/2011    Spare Battery Pack                             Construction     100786 SPARE BATTERY PACK                             1,926.00   0.00     1,926.00
16135 1/18/2012     2 Connex Containers                            Construction     100221 20' Connex Containers o                        1,995.00   0.00     1,995.00
16135 Total                                                                                                                                                  29,803.00
16140 12/31/2010    Printers and Copiers                           Construction     NAES Import                                          24,148.70   0.00    24,148.70
16140 12/31/2010    Office Furniture (Entire Office)               Construction     NAES Import                                          75,831.80   0.00    75,831.80
16140 1/31/2011     Additional Office Furniture                    Construction     NAES Import                                          11,132.58   0.00    11,132.58
16140 2/28/2011     Conference Table                               Construction     NAES Import                                           8,220.00   0.00     8,220.00
16140 4/30/2011     Control Room Furniture                         Construction     NAES Import                                           1,590.14   0.00     1,590.14
16140 10/7/2011     Upright Shelving Assembly                      Construction     100037 Upright Shelving Assemb                        2,761.32   0.00     2,761.32
16140 10/25/2011    Konica Minolta Copier Bizhub                   Construction     100026 KONICA MINOLTA BIZHUB C                        5,128.00   0.00     5,128.00
16140 12/6/2011     Vertical Fire Safe File                        Construction     100124 VERTICAL FIRE SAFE FILE                        2,159.25   0.00     2,159.25
16140 12/13/2011    Cabinets                                       Construction     100805 Oak Manual Cabinets - C                        2,805.00   0.00     2,805.00
16140 12/13/2011    Cabinets                                       Construction     100805 Oak Manual Cabinets - M                        3,000.00   0.00     3,000.00
16140 Total                                                                                                                                                 136,776.79
16145 3/31/2011     Installation of servers                        Construction     NAES Import                                          16,320.00   0.00    16,320.00
16145 10/7/2011     Dell MD 1200 Server                            Construction     100036 DELL MD1200 SERVER                             5,729.99   0.00     5,729.99
16145 10/7/2011     Server Labor                                   Construction     100036 LABOR FOR SERVER INSTAL                          800.00   0.00       800.00
16145 9/30/2021     Dell Optiplex 3070 (9)                         Cyber Security   100036 Dell Optiplex 3070 Desk                       16,598.70   0.00    16,598.70
16145 9/30/2021     Dell Latitude 5500 (7)                         Cyber Security   100036 Dell Latitude 5500 Lapt                       18,790.10   0.00    18,790.10
16145 9/30/2021     Dell Latitude Semi-Rugged Laptop               Cyber Security   100036 Dell Latitude Semi Rugg                        3,284.20   0.00     3,284.20
16145 9/30/2021     Axis M2025-LS Network Camera (2)               Cyber Security   100036 Solar Camera System Install & Configuration   22,398.00   0.00    22,398.00
16145 9/30/2021     Video Server(Cameras) - Power Edge R540        Cyber Security   100036 Dell Rack Mount Server                        17,584.00   0.00    17,584.00
16145 9/30/2021     DELL R440 - SEC SRV(Ivanti/Security & Gas Moni Cyber Security   100036 Ivanti Server                                 10,984.00   0.00    10,984.00
16145 Total                                                                                                                                                 112,488.99
16150 4/30/2011     Dynamics Installation                          Construction     NAES Import                                           1,751.25   0.00     1,751.25
16150 6/10/2011     Maximo Installation                            Construction     100258 Asset Partners                                17,595.00   0.00    17,595.00
16150 6/15/2011     Dynamics Installation                          Construction     100087 QUEUE ASSOCIATES INC.                          1,619.76   0.00     1,619.76
16150 6/15/2011     Dynamics Installation                          Construction     100087 QUEUE ASSOCIATES INC.                          3,900.00   0.00     3,900.00
16150 6/23/2011     Dynamics Installation                          Construction     100087 QUEUE ASSOCIATES INC.                          1,852.50   0.00     1,852.50
16150    7/7/2011   Dynamics Installation                          Construction     100087 QUEUE ASSOCIATES INC.                          1,170.00   0.00     1,170.00
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16150 1/31/2012     Ventyx Software                      Construction   Move Ventyx to Software            42,600.00   0.00      42,600.00
16150 2/29/2012     Maximo Licenses                      Construction   Additional Maximo Licenses          9,480.00   0.00       9,480.00
16150 2/29/2012     Maximo Installation                  Construction   Additional Maximo Install Labor     3,525.00   0.00       3,525.00
16150    2/7/2012   Installation of Fuelworx             Construction   100510 SunGard Energy Systems,     26,978.05   0.00      26,978.05
16150 3/31/2012     Installation of Fuelworx             Construction   100510 SunGard Energy Systems,     15,322.12   0.00      15,322.12
16150 4/30/2012     Installation of eSOMS                Construction   100818 Ventyx                      22,500.00   0.00      22,500.00
16150 5/31/2012     Rosemount Licensing Software         Construction   100303 Emerson                      4,602.98   0.00       4,602.98
16150 7/24/2012     eSOMS Ventyx Software                Construction   100818 Ventyx                       4,564.18   0.00       4,564.18
16150 7/24/2012     eSOMS Ventyx Software                Construction   100818 Ventyx                       1,378.66   0.00       1,378.66
16150 7/24/2012     eSOMS Ventyx Software                Construction   100818 Ventyx                      22,500.00   0.00      22,500.00
16150 7/24/2012     Installation of Fuelworx             Construction   100510 SunGard Energy Systems,      7,087.50   0.00       7,087.50
16150    8/6/2012   NERC Compliance Software             Construction   100860 NERC Compliance             27,500.00   0.00      27,500.00
16150 Total                                                                                                                     215,927.00
16155 4/30/2011     Office Phone System - NAES           Construction   NAES Import                        33,563.24   0.00      33,563.24
16155 Total                                                                                                                      33,563.24
16165 7/29/2011     CAT 262 Skid Steer Loader            Construction   100139 CAT 262 Skid Steer Load     47,788.14   0.00      47,788.14
16165    8/8/2011   613C Water Wagon                     Construction   100139 Holt Cat                   242,307.44   0.00     242,307.44
16165    8/8/2011   Hydraulic Excavator 342DL            Construction   100139 Holt Cat                   249,783.67   0.00     249,783.67
16165 10/7/2011     Caterpillar D9T Tractor              Construction   100139 CATERPILLAR D9T TRACTOR    904,225.00   0.00     904,225.00
16165 2/28/2012     D-8 Blade                            Construction   100139 ASSEMBLY AND INSTALL ON      2,400.00   0.00       2,400.00
16165 2/28/2012     D-8 Blade                            Construction   100139 FREIGHT FOR BLADE DELIV        685.00   0.00         685.00
16165 2/28/2012     D-8 Blade                            Construction   100139 TRAVEL FOR INSTALL             525.00   0.00         525.00
16165 2/28/2012     D-8 Blade                            Construction   100139 USED D9T SEMI U BLADE C     35,000.00   0.00      35,000.00
16165 5/31/2012     Brush Mower Attachment               Construction   Attachments Direct                  5,495.00   0.00       5,495.00
16165 9/30/2014     Caterpillar D9R Tractor              Operations     Trade in With Holt Cat            435,000.00   0.00     435,000.00
16165 Total                                                                                                                   1,923,209.25
16170 7/15/2011     2003 Suzuki Mini-Truck               Construction   100280 Ark-La-Tex Mini Trucks       7,400.00   0.00       7,400.00
16170 9/28/2011     6.5'X12' DSP PIPE TRAILER            Construction   1021 6.5'X12' DSP PIPE TRAILER      1,300.00   0.00       1,300.00
16170 Total                                                                                                                       8,700.00
Grand Total                                                                                                                   3,081,047.25
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                 EXHIBIT Schedule B / Question 73
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                                                                      EXHIBIT
                                                           SCHEDULE G ‐ Executory Contracts
  NAME OF COUNTERPARTY                    ADDRESS                                       DESCRIPTION OF CONTRACT                      DATE
1 Peabody COALSALES, LLC                  701 Market Street, St. Louis, MO 63101        Master Coal Supply Agreement between                      2/27/2014
                                                                                        Peabody and Sandy Creek Energy Assoc.,
                                                                                        LP,BSCEC and Lower Colorado River
                                                                                        Authority
2 Arch Coal Sales Company, Inc.           One City Place Drive, Suite 300, St. Louis,   Master Coal Purchase and Sale Agreement 11/09/2011 and as
  individuallky and as agent for the      MO 63141                                      between Arch Coal and BSCEC, Lower         amended 10/03/2013
  independent operating subsidiaries of                                                 Colorado River Authority and Sandy Creek
  Arch Coal, Inc.                                                                       Energy Assoc., LP
3 Cloud Peak Energy Resources LLC         385 Interlocken Crescent, Suite 400,          CPE #2485 Confirmation Letter pursuant to                12/21/2016
                                          Broomfield, CO 80021                          the Master Coal Puchase and Sale
                                                                                        Agreement between Sandy Creek Energy
                                                                                        Associates,LP, BSCEC, Lower Colorado River
                                                                                        Authority and Cloud Peak Energy
                                                                                        Resources LLC
4 Bluegrass Commodities, LP               c/o Javelin Global Commodities, 7 Howick      Coal Purchase and Sale Agreement (SCES                    3/25/2021
                                          Place, London SW1P 1BB                        Ref. SCS‐BG 2021‐4#) between Bluegrass
                                                                                        Commodities and Sandy Creek Services, LLC
                                                                                        as agent for Sandy Creek Energy Assoc. LP
                                                                                        and BSCEC and Lower Colorado River
                                                                                        Authority
5 Peabody COALSALES, LLC                  701 Market Street, St. Louis, MO 63101        Confirmation 2021‐3 pursuant to Master                    2/23/2021
                                                                                        Coal Supply Agreement between Peabody
                                                                                        and Sandy Creek Services, LLC as agent for
                                                                                        Sandy Creek Energy Assoc. LP, BSCEC and
                                                                                        Lower Colorado River Authority

6 Peabody COALSALES, LLC                  701 Market Street, St. Louis, MO 63101        Confirmation 2021‐4 pursuant to Master                   3/24/2021
                                                                                        Coal Supply Agreement between Peabody
                                                                                        and Sandy Creek Services, LLC as agent for
                                                                                        Sandy Creek Energy Assoc. LP, BSCEC and
                                                                                        Lower Colorado River Authority

7 Cloud Peak Energy Resources LLC         Attn: Contract Administration, 385            Master Coal Purchase and Sale Agreement                  5/30/2013
                                          Interlocken Crescent, Suite 400               between Cloud Peak and Sandy Creek
                                          Broomfield, CO 80021                          Energy Assoc.LP, BSCEC and Lower
                                                                                        Colorado River Authority
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                                                                     EXHIBIT
                                                          SCHEDULE G ‐ Executory Contracts
 8 Bluegrass Commodities, LP              c/o Javelin Global Commodities, 7 Howick    Coal Purchase and Sale Agreement (SCES                  2/23/2021
                                          Place, London SW1P 1BB                      Ref. #) between Bluegrass Commodities
                                                                                      and Sandy Creek Services, LLC, BSCEC and
                                                                                      Lower Colorado River Authority

 9 NAES Corporation                       Attn: General Counsel; 1180 NW Maple St., Plant Operation and Maintenance             7/2/2010 "as amended and
                                          Suite 200, Issaquah WA 98027               Agreement between NAES and Sandy Creek restated"
                                                                                     Energy Assoc. LP, BSCEC and Lower
                                                                                     Colorado River Authority
10 Crimson Engineering Soluctions, LLC    6100 Western Place, Suite 1050, Fort       Amended and Restated Professional                          5/14/2014
   d/b/a Certrec Corporation              Worth, TX 76107                            Services Agreement between Sandy Creek
                                          Certrec Corp., 6100 Western Place,Ste.     Services, LLC as agent for BSCEC and
                                          1050, Ft. Worth, TX 76107                  Crimson Engineering
11 Sterns Conrad and Schmidt Consulting   1901 Central Drive, Suite 550, Bedford, TX Professional Services Agreement between                    9/29/2020
   Engineers, Inc. dba SCS Engineers      76021                                      Sandy Creek Services, LLC as agent for the
                                                                                     Owner (BSCEC) and SCS Engineers

12 Burns & McDonnell Engineering          1431 Opus Place, Suite 400, Downers         Professional Services Agreement between                 7/18/2014
   Company, Inc.                          Grove, IL 60515                             NAES Corporation as agent for BSCEC and
                                                                                      Burns & McDonnell Engineering Company,
                                                                                      Inc.
13 Power Max Consulting, Inc.             6834 Third St., Lanhan, MD 20706‐1020       Professional Services Agreement between                12/23/2014
                                                                                      NAES Corporation as agent for BSCEC and
                                                                                      Power Max Consulting, Inc.
14 Union Pacific Railroad Company         1400 Douglas Street, Omaha,NE 68179         Master Contract UP‐57611 between BSCEC                  12/1/2020
                                                                                      ,Lower Colorado River Authority and Sandy
                                                                                      Creek Energy Assoc. LP
15 Sargent & Lundy,LLC                    Attn: Brian Faga, 55 E. Monroe Street,      Agreement between NAES Corporation as                     5/5/2014
                                          Chicago, IL 60603                           agent for owners (BSCEC) and Sargent &
                                                                                      Lundy, LLC ‐ Work Authorization SCES 20‐
                                                                                      3976
16 Tenaska Power Services Co.             300 E. John Carpenter Frwy, Suite 1100,     Master Qualified Scheduling Entity Services             6/21/2021
                                          Irving, TX 75062                            Agreement between Tenaska Power
                                                                                      Services and BSCEC, Lower Colorado River
                                                                                      Authority and Sandy Creek Energy Assoc. LP

17 Waste Management National Services,    720 E. Butterfield Rd., Lombard, IL 60148   Coal Ash Sale Agreement between Waste                     1/1/2022
   Inc.                                   AND Chief Legal Office, 800 Capital St.,    Management and Sandy Creek Energy
                                          Houston, TX 77002                           Assoc.LP, BSCEC and Lower Colorado River
                                                                                      Authority
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                                                                        EXHIBIT
                                                             SCHEDULE G ‐ Executory Contracts
18 Twin Eagle Resource Management, LLC      8847 West Sam Houston Parkway North,        Master Qualified Scheduling Entity Services    2/28/2013
                                            Houston, TX 77040                           Agreement between Twin Eagle Resource
                                                                                        Management and BSCEC, Lower Colorado
                                                                                        River Authority and Sandy Creek Energy
                                                                                        Assoc., LP
19 Sandy Creek Services, LLC                c/o LS Power Development,LP,Two Tower Project Management Agreement between                 8/29/2007
                                            Center, 11th Fl. East Brunswick, NJ 08816 Sandy Creek Services, BSCEC and Sandy
                                                                                        Creek Energy Associates LP
20 City of Waco                                                                         Reclaimed Water and Raw Water Supply            1/1/2004
                                                                                        Agreement between The City of Waco and
                                                                                        Sandy Creek Energy Assoc., LP as agrent
                                                                                        BESCE
21 Waste Management National Services,      720 Butterfield Rd., Suite 400, Lombard, IL Agreement to Furnish Maintenance and          12/15/2018
   Inc.                                     60148                                       Construction Services between Sandy Creek
                                                                                        Sevices, LLC as agent for BSCEC and Waste
                                                                                        Management National Services

22 WL Ross Greenbrier Rail I LLC             c/o Greenbrier Mgmt Services LLC, One     Master Full Service Railcar Lease between       11/2/2011
                                             Centerpoint Dr., Ste 400, Lake Oswego, OR WL Ross Greenbrier Rail I LLC and Sandy
                                             97035                                     Creek Energy Asso. LP, Lower Colorado
                                                                                       River Authority and BSCEC
23 Helm‐Pacific Leasing                      c/o Helm Pacific Corp., 505 Sansome St.,  Full Maintenance Lease Agreement                3/30/2011
                                             Ste 1800, San Francisco,CA 94111          between Helm‐Pacific Leasing and Sandy
                                                                                       Creek Energy Assoc. LP, BSCEC and Lower
                                                                                       Colorado River Authority
24 Trinity Industries Leasing Company        2525 Stemmons Freeway, Dallas, TX 75207 Railroad Car Lease Agreement between               1/1/2015
                                                                                       Trinity Industries and Sandy Creek Energy
                                                                                       Assoc. LP, Lower Colorado River Authority
                                                                                       and BSCEC
25 Yetter Coleman, LLP (counsel for SCEA                                               Joint Defense, Common Interest and              5/24/2021
   and SCS)                                                                            Confidentiality Agreement Concerning
                                                                                       Potential and Pending Litigation and
                                                                                       Liabilities Assoc w/the Sandy Creek Energy
                                                                                       Station
   Segrest & Segrest, PC (counsel for BSCEC) c/o Philip Segrest                        Joint Defense, Common Interest and
                                                                                       Confidentiality Agreement Concerning
                                                                                       Potential and Pending Litigation and
                                                                                       Liabilities Assoc w/the Sandy Creek Energy
                                                                                       Station
                                Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 93 of 94
                                                                          EXHIBIT
                                                               SCHEDULE G ‐ Executory Contracts
   Norton Rose Fulbright US, LLP (counsel
   for BSCEC)
   Tom Oney, Raul Garcia and Fred Sultan
   (counsel for LCRA)
   William H. Wilson, Esq.
   Ron Fischer (counsel for SCEA)
   David J. Sass (counsel for SCS)
26 Vinson & Elkins LLP (counsel for SCEA and                                          Joint Defense Common Interest and             10/30/2019
   SCS)                                                                               Confidentiality Agreement concerning
                                                                                      Potential Environmental Rgulatory
                                                                                      Liabilities Associated w/the Sandy Creek
                                                                                      Energy Station
   Guida Slavich & Flores, PC (consel for
   BSCEC)
   Segrest & Segrest, PC (counsel for BSCEC) 28015 West Hwy 84, McGregor,TX 76657

   Tom Oney, Raul Garcia and Patti Hershey
   (counsel for LCRA)
   William H. Wilson, Esq. (counsel for
   SCEA)
   Ron Fischer (counsel for SCEA)
   David J. Sass (counsel for SCS)
27 Brazos Electric Power Cooperative, Inc. Attn: VP of Power Supply and Generation,   Agreement for Purchase and Sale of S02         10/1/2013
                                           2404 LaSalle Avenue/PO Box 2585,           Emission Allowances between Brazos
                                           Waco,TX 76702‐2585                         Electric Power and BSCEC
28 Brazos Electric Power Cooperative, Inc. Attn: VP of Power Supply and Generation,   Agreement for the Purchase and Sale of         10/1/2013
                                           2404 LaSalle Avenue/PO Box 2585,           Annual Nox Emission Allowances between
                                           Waco,TX 76702‐2585                         Brazos Electric Power Cooperative Inc. and
                                                                                      BSCEC
29 Brazos Electric Power Cooperative, Inc.     Attn: Accounting Dept., 2404 LaSalle   Master Agreement for the Purchase and          10/1/2013
                                               Avenue, Waco, TX 76762                 Sale of Emission Allowances Brazos Electric
                                                                                      Power Cooperative Inc. and BSCEC

30 Brazos Sandy Creek Electric Cooperative 2404 LaSalle Avenue, Waco, TX 76706,       Power Purchase Agreement between                9/1/2008
   Inc.                                        Attn: Exec. VP and General Mgr.        Brazos Sandy Creek Electric Cooperative
                                                                                      Inc. and Brazos Electric Power Cooperative
                                                                                      Inc.
                                Case 22-30682 Document 60 Filed in TXSB on 04/18/22 Page 94 of 94
                                                                       EXHIBIT
                                                            SCHEDULE G ‐ Executory Contracts
31 Brazos Electric Power Cooperative, Inc.   2404 LaSalle Avenue, Waco, TX 76706,   Corporate Services Agreement between          8/1/2007
                                             Attn: Exec. VP and General Mgr.        Brazos Electric Power Cooperative, Inc. and
                                                                                    BSCEC
